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             ORDERED in the Southern District of Florida on May 6, 2020.




                                                                     Paul G. Hyman, Jr.,Judge
                                                                     United States Bankruptcy Court
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                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA

        IN RE:                                             CASE NO. 19-24331-BKC-PGH
                                                           CHAPTER 13
        RALPH LEVI SANDERS, JR.
        __________________________/

                                ORDER SUSTAINING OBJECTION TO CLAIM NO. 3-2

                 THIS CAUSE came to be heard on the Chapter 13 consent calendar on May 4, 2020 on
        the Debtor’s Objection to Claim Number 3-2 (DE 63), and there being no objections otherwise
        raised, it is, therefore:
                 ORDERED AND ADJUDGED as follows:
                 1.      The Court sustains the Debtor’s Objection to Claim of the Department of the Treasury –
        Internal Revenue Service (Claim No. 3-2).
                 2.      The Department of the Treasury – Internal Revenue Service’s priority claim shall be
        limited to $214.88 for 2012 taxes owing.
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         Submitted by:

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         Michael H. Johnson is directed to serve copies of this order on all interested parties and file a
         certificate of service.
